Case 2:22-cv-00350-JRG-RSP                Document 1       Filed 09/09/22     Page 1 of 25 PageID #: 1




                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                       MARSHALL DIVISION

  ALTO DYNAMICS, LLC,                                          CIVIL ACTION NO. 2:22-cv-00350
                       Plaintiff,
              v.                                                 JURY TRIAL DEMANDED
  ROADGET BUSINESS PTE. LTD.,
                       Defendant.


                              COMPLAINT FOR PATENT INFRINGEMENT

             Plaintiff Alto Dynamics, LLC (“Alto Dynamics” or “Plaintiff”) files this complaint against

 Defendant Roadget Business Pte. Ltd. (“Roadget” or “Defendant”) alleging, based on its own

 knowledge as to itself and its own actions, and based on information and belief as to all other

 matters, as follows:

                                        NATURE OF THE ACTION

        1.         This is a patent infringement action to stop Defendant’s infringement of the following

 United States Patents (collectively, the “Asserted Patents”) issued by the United States Patent and

 Trademark Office (“USPTO”), copies of which are attached hereto as Exhibit A, Exhibit B,

 Exhibit C, Exhibit D, Exhibit E, Exhibit F, and Exhibit G, respectively:

                   U.S. Patent No.                             Title
   A.                 6,604,100    Method For Converting Relational Data Into A Structured
                                   Document
   B.                 6,662,190    Learning Automatic Data Extraction System
   C.                 7,152,018    System And Method For Monitoring Usage Patterns
   D.                 7,392,160    System And Method For Monitoring Usage Patterns
   E.                 7,657,531    Systems And Methods For State-Less Authentication
   F.                 8,051,098    Systems And Methods For State-Less Authentication
   G.                 RE46,513     Systems And Methods For State-Less Authentication

        2.         Alto Dynamics seeks injunctive relief and monetary damages.




                                                    Page | 1
Case 2:22-cv-00350-JRG-RSP              Document 1        Filed 09/09/22       Page 2 of 25 PageID #: 2




                                                PARTIES

       3.    Alto Dynamics, LLC is a limited liability company organized under the laws of the

 State of Georgia, with its principal place of business at 4275 Peachtree Corners Circle, Suite 230,

 Peachtree Corners, Georgia 30092 (Gwinnett County).

       4.    Roadget is a Private Company Limited By Shares organized under the laws of

 Singapore with its corporate headquarters located at 7 Temasek Boulevard, #12-07, Suntec Tower

 One, Singapore 038987.

       5.    Roadget may be served at its corporate headquarters.

       6.    Defendant operates its business in the United States under the brand name “SHEIN”

 and the website https://us.shein.com through which it sells products that include clothing and

 fashion accessories.

                                      JURISDICTION AND VENUE

       7.    Alto Dynamics repeats and re-alleges the allegations in the Paragraphs above as though

 fully set forth in their entirety.

       8.    This is an action for infringement of a United States patent arising under 35 U.S.C. §§

 271, 281, and 284–85, among others. This Court has subject matter jurisdiction of the action under

 28 U.S.C. § 1331 and § 1338(a).

       9.    Defendant is subject to this Court’s specific and general personal jurisdiction under due

 process and/or the Texas Long Arm Statute due at least to Defendant’s substantial business in this

 judicial district, including: (i) at least a portion of the infringement alleged herein; and (ii) regularly

 doing or soliciting business, engaging in other persistent courses of conduct, or deriving substantial

 revenue from goods and services provided to individuals in Texas and in this District.

     10.     Specifically, Defendant intends to do and does business in, has committed acts of

 infringement in, and continue to commit acts of infringement in this District directly, through


                                                  Page | 2
Case 2:22-cv-00350-JRG-RSP            Document 1       Filed 09/09/22      Page 3 of 25 PageID #: 3




 intermediaries, by contributing to and through its inducement of third parties, and offers its

 products or services, including those accused of infringement here, to customers and potential

 customers located in Texas, including in this District.

     11.     Defendant commits acts of infringement from this District, including, but not limited

 to, use of the Accused Instrumentalities and inducement of third parties to use the Accused

 Instrumentalities.

     12.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(c)(3) because Defendant

 is not a resident of the United States.

                              THE ACCUSED INSTRUMENTALITIES

     13.     Alto Dynamics repeats and re-alleges the allegations in the Paragraphs above as though

 fully set forth in their entirety.

     14.     Based upon public information, Roadget owns, operates, advertises, and/or controls the

 website https://us.shein.com and associated hardware, software, and functionality that among other

 features, allows users to view, search, save, and purchase items on Defendant’s online sales

 platform, tracks user activities and preferences (e.g., using cookies), provides website and user

 authentication (e.g., using user login processes and secured sessions), employs internal company

 analytics that it offers to its employees and staff, delivers customized advertisements and electronic

 product placements, provides a browsing history and the ability to query and re-select items, and

 allows for the processing of resumes for job applications, and with respect to at least some of the

 foregoing features, provides them through its mobile apps available through the App Store and

 Google Play (the “Accused Instrumentalities”). See Exhibit H, Exhibit I, and Exhibit J; see

 Exhibit K and Exhibit L.




                                               Page | 3
Case 2:22-cv-00350-JRG-RSP             Document 1      Filed 09/09/22       Page 4 of 25 PageID #: 4




                    COUNT I: INFRINGEMENT OF U.S. PATENT NO. 6,604,100

     15.            Alto Dynamics repeats and re-alleges the allegations in the Paragraphs above as

 though fully set forth in their entirety.

     16.     The USPTO duly issued U.S. Patent No. 6,604,100 (the “’100 patent”) on August 5,

 2003, after full and fair examination of Application No. 09,778,749, which was filed on February

 8, 2001. See Ex. A, at A-1. A Certificate of Correction was issued on November 25, 2003. See

 id., at A-18.

     17.     Alto Dynamics owns all substantial rights, interest, and title in and to the ’100 patent,

 including the sole and exclusive right to prosecute this action and enforce the ’100 patent against

 infringers, and to collect damages for all relevant times.

     18.     The claims of the ’100 patent are not directed to an abstract idea and are not limited to

 well-understood, routine, or conventional activity.          Rather, the claimed inventions include

 inventive components that improve upon the function and operations for viewing and querying

 relational data.

     19.     The written description of the ’100 patent describes in technical detail each limitation

 of the claims, allowing a skilled artisan to understand the scope of the claims and how the non-

 conventional and non-generic combination of claim limitations is patently distinct from and

 improved upon what may have been considered conventional or generic in the art priority date.

 The ‘100 patent also identifies and circumscribes all information necessary for a skilled artisan to

 perform each limitation in the claims in light of that which was known in the art at the priority

 date.

     20.     Defendant has infringed one or more claims of the ’100 patent by using, providing,

 supplying, or distributing the Accused Instrumentalities.




                                                Page | 4
Case 2:22-cv-00350-JRG-RSP            Document 1          Filed 09/09/22   Page 5 of 25 PageID #: 5




     21.    Defendant has directly infringed, either literally or under the doctrine of equivalents, at

 least claim 1 of the ’100 patent.

     22.    For example, the Accused Instrumentalities employ database searching and viewing

 capabilities, including by performing, and allowing users to perform, a method for converting

 relational data from a relational database into a structured document, comprising the steps of

 storing a view query that defines a structured document view of the relational database, a structure

 of the view query being independent of a structure of data in the relational database; receiving a

 user query against the structured document view; forming an executable query by determining a

 composition of the view query and the user query; partitioning the executable query into a data

 extraction portion and a construction portion; transmitting the data extraction portion to the

 relational database; receiving at least one tuple stream from the relational database according to

 the data extraction portion; and merging the at least one tuple stream and the construction portion

 to generate a structured document, wherein the structured document view is capable of defining a

 document of arbitrary nesting depth.

     23.    On information and belief, Defendant has a policy or practice of not reviewing the

 patents of others (including instructing its employees to not review the patents of others), and thus

 has been willfully blind of Plaintiff’s patent rights.

     24.    Defendant’s actions were at least objectively reckless as to the risk of infringing a valid

 patent and this objective risk was either known or should have been known by Defendant.

     25.    Alto Dynamics or its predecessors-in-interest have satisfied all statutory obligations

 required to collect pre-filing damages for the full period allowed by law for infringement of the

 ’100 patent.




                                                Page | 5
Case 2:22-cv-00350-JRG-RSP            Document 1       Filed 09/09/22       Page 6 of 25 PageID #: 6




     26.     Plaintiff has been damaged as a result of the infringing conduct by Defendant alleged

 above. Thus, Defendant is liable to Alto Dynamics in an amount that compensates it for such

 infringement, which by law cannot be less than a reasonable royalty, together with interest and

 costs as fixed by this Court under 35 U.S.C. § 284.

                  COUNT II: INFRINGEMENT OF U.S. PATENT NO. 6,662,190

     27.     Alto Dynamics repeats and re-alleges the allegations in the Paragraphs above as though

 fully set forth in their entirety.

     28.     The USPTO duly issued U.S. Patent No. 6,662,190 (the “’190 patent”) on December

 9, 2003, after full and fair examination of Application No. 09/812,425, which was filed on March

 20, 2001. See Ex. B, at B-1.

     29.     Alto Dynamics owns all substantial rights, interest, and title in and to the ’190 patent,

 including the sole and exclusive right to prosecute this action and enforce the ’190 patent against

 infringers, and to collect damages for all relevant times.

     30.     The claims of the ’190 patent are not directed to an abstract idea and are not limited to

 well-understood, routine, or conventional activity.          Rather, the claimed inventions include

 inventive components that improve upon the function and operation of preexisting systems and

 methods of database searching techniques and systems.

     31.     The written description of the ’190 patent describes in technical detail each limitation

 of the claims, allowing a skilled artisan to understand the scope of the claims and how the non-

 conventional and non-generic combination of claim limitations is patently distinct from and

 improved upon what may have been considered conventional or generic in the art at the priority

 date. The ’190 patent also identifies and circumscribes all information necessary for a skilled

 artisan to perform each limitation in the claims in light of that which was known in the art at the

 priority date.


                                               Page | 6
Case 2:22-cv-00350-JRG-RSP             Document 1         Filed 09/09/22        Page 7 of 25 PageID #: 7




     32.     Defendant has infringed one or more claims of the ’190 patent by making, using,

 providing, supplying, selling, offering for sale, or distributing the Accused Instrumentalities,

 including, but not limited to, processing the resumes uploaded to its online sales platform and that

 platform’s provision of a browse history to its users, along with the ability to re-select items.

     33.     Defendant has directly infringed, either literally or under the doctrine of equivalents, at

 least claim 1 of the ’190 patent.

     34.         For example, the Accused Instrumentalities employ text mining capabilities,

 including by performing, and allowing users to perform, through its resume uploading feature(s),

 a method for data extraction of a text file to a record file, said method comprising the steps of

 identifying an area of interest in a text file, parsing said area of interest in order to identify a list of

 values of attributes in said area of interest, recognizing a first set of values in said list that match

 values contained in an attribute value vocabulary, forming a record using said first set of values,

 gleaning a second set of values in said list that do not match values contained in said attribute value

 vocabulary, and adding said second set of values to said record.

     35.         On information and belief, Defendant has a policy or practice of not reviewing the

 patents of others (including instructing its employees to not review the patents of others), and thus

 has been willfully blind of Plaintiff’s patent rights.

     36.     Defendant’s actions were at least objectively reckless as to the risk of infringing a valid

 patent and this objective risk was either known or should have been known by Defendant.

     37.     Alto Dynamics or its predecessors-in-interest have satisfied all statutory obligations

 required to collect pre-filing damages for the full period allowed by law for infringement of the

 ’190 patent.




                                                  Page | 7
Case 2:22-cv-00350-JRG-RSP            Document 1       Filed 09/09/22       Page 8 of 25 PageID #: 8




     38.     Alto Dynamics has been damaged as a result of the infringing conduct by Defendant

 alleged above. Thus, Defendant is liable to Alto Dynamics in an amount that compensates it for

 such infringement, which by law cannot be less than a reasonable royalty, together with interest

 and costs as fixed by this Court under 35 U.S.C. § 284.

                COUNT III: INFRINGEMENT OF U.S. PATENT NO. 7,152,018

     39.     Alto Dynamics repeats and re-alleges the allegations in the Paragraphs above as though

 fully set forth in their entirety.

     40.     The USPTO duly issued U.S. Patent No. 7,152,018 (the “’018 patent”) on December

 19, 2006, after full and fair examination of Application No. 10/499,578, which was filed on

 December 18, 2002. See Ex. C, at C-1. A certificate of correction was issued on December 19,

 2006. Id., at C-11-12.

     41.     Alto Dynamics owns all substantial rights, interest, and title in and to the ’018 patent,

 including the sole and exclusive right to prosecute this action and enforce the ’018 patent against

 infringers, and to collect damages for all relevant times.

     42.     The claims of the ’018 patent are not directed to an abstract idea and are not limited to

 well-understood, routine, or conventional activity.          Rather, the claimed inventions include

 inventive components that improve upon the function and operation of preexisting systems and

 methods for monitoring, recording and analysis of user activity.

     43.     The written description of the ’018 patent describes in technical detail each limitation

 of the claims, allowing a skilled artisan to understand the scope of the claims and how the non-

 conventional and non-generic combination of claim limitations is patently distinct from and

 improved upon what may have been considered conventional or generic in the art at the priority

 date. The ’018 patent also identifies and circumscribes all information necessary for a skilled




                                               Page | 8
Case 2:22-cv-00350-JRG-RSP            Document 1        Filed 09/09/22      Page 9 of 25 PageID #: 9




 artisan to perform each limitation in the claims in light of that which was known in the art at the

 priority date.

     44.     Defendant has infringed and continue to infringe one or more claims of the ’018 patent

 by making, using, providing, supplying, selling, offering for sale, or distributing the Accused

 Instrumentalities, including, but not limited to, Defendant’s employ of cookies for its online sales

 platform.

     45.     Defendant has directly infringed and continue to directly infringe, either literally or

 under the doctrine of equivalents, at least claim 1 of the ’018 patent.

     46.     For example, the Accused Instrumentalities track user activities and preferences (e.g.,

 using cookies), including by performing, and allowing users to perform a method of monitoring

 user usage patterns of a system, comprising the steps of providing at least one state object, the

 object including a profile representative of user usage, storing the state object at a client location,

 passing, to a central server, the state object with each subsequent interaction initiation, and

 receiving, from the central server, the state object along with the response of the central server,

 wherein the profile is modified, to reflect the interaction between the client location and the central

 server, by one of one or more scripts within or included in information/resources provided to the

 client location by the central server, and one or more programs executed at the client location, thus

 precluding manipulation of the profile by the server.

     47.     Since at least the time of receiving this Complaint, Defendant has also indirectly

 infringed and continues to indirectly infringe the ’018 patent by inducing others to directly infringe

 the ’018 patent. Defendant has induced and continue to induce their subsidiaries, partners,

 affiliates, and end-users, including Defendant’s customers and potential customers, to directly

 infringe, either literally or under the doctrine of equivalents, the ’018 patent by using the Accused




                                                Page | 9
Case 2:22-cv-00350-JRG-RSP            Document 1        Filed 09/09/22      Page 10 of 25 PageID #:
                                              10



 Instrumentalities. Defendant took active steps, directly or through contractual relationships with

 others, with the specific intent to cause them to use the Accused Instrumentalities in a manner that

 infringes one or more claims of the ’018 patent, including, for example, claim 1 of the ’018 patent.

 Such steps by Defendant included, among other things, advising or directing personnel,

 contractors, or end-users to make or use the Accused Instrumentalities in an infringing manner;

 advertising and promoting the use of the Accused Instrumentalities in an infringing manner; or

 distributing instructions that guide users to use the Accused Instrumentalities in an infringing

 manner. Defendant is performing these steps, which constitutes induced infringement with the

 knowledge of the ’018 patent and with the knowledge that the induced acts constitute infringement.

 Defendant is aware that the normal and customary use of the Accused Instrumentalities by others

 would infringe the ’018 patent. Defendant’s inducement is ongoing.

     48.    Since at least the time of receiving this Complaint, Defendant has also indirectly

 infringed and continues to indirectly infringe by contributing to the infringement of the ’018 patent.

 Defendant has contributed and continues to contribute to the direct infringement of the ’018 patent

 by personnel, contractors, customers, and other end users by encouraging them to use the Accused

 Instrumentalities to perform the steps of the patented process as described in one or more claims

 of the ’018 patent. The Accused Instrumentalities have special features that are specially designed

 to be used in an infringing way and that have no substantial uses other than ones that infringe one

 or more claims of the ’018 patent, including, for example, claim 1 of the ’018 patent. The special

 features include, for example, the method recited in claim 1, including all the intermediary steps,

 that allow the claimed method of monitoring user usage patterns of a system. The special features

 constitute a material part of the invention of one or more of the claims of the ’018 patent and are




                                               Page | 10
Case 2:22-cv-00350-JRG-RSP                Document 1    Filed 09/09/22      Page 11 of 25 PageID #:
                                                  11



 not staple articles of commerce suitable for substantial non-infringing use.             Defendant’s

 contributory infringement is ongoing.

     49.     Defendant has had knowledge of the ’018 patent at least as of the date when it was

 notified of the filing of this action.

     50.     Furthermore, on information and belief, Defendant has a policy or practice of not

 reviewing the patents of others (including instructing its employees to not review the patents of

 others), and thus has been willfully blind of Plaintiff’s patent rights.

     51.     Defendant’s actions are at least objectively reckless as to the risk of infringing a valid

 patent and this objective risk was either known or should have been known by Defendant.

     52.     Since at least the time of receiving this Complaint, Defendant’s direct and indirect

 infringement of the ’018 patent is, has been, and continues to be willful, intentional, deliberate, or

 in conscious disregard of Plaintiff’s rights under the patent.

     53.     Alto Dynamics or its predecessors-in-interest have satisfied all statutory obligations

 required to collect pre-filing damages for the full period allowed by law for infringement of the

 ’018 patent.

     54.     Plaintiff has been damaged and continues to be damaged as a result of the infringing

 conduct by Defendant alleged above. Thus, Defendant is liable to Alto Dynamics in an amount

 that compensates it for such infringement, which by law cannot be less than a reasonable royalty,

 together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

     55.     Alto Dynamics has suffered and continues to suffer irreparable harm, through its loss

 of market share and goodwill, for which there is no adequate remedy at law. Alto Dynamics has

 and will continue to suffer this harm by virtue of each Defendant’s infringement of the ’018 patent.

 Defendant’s actions have interfered with and will interfere with Alto Dynamics’ ability to license




                                               Page | 11
Case 2:22-cv-00350-JRG-RSP            Document 1       Filed 09/09/22       Page 12 of 25 PageID #:
                                              12



 technology. The balance of hardships favors Alto Dynamics’ ability to commercialize its own

 ideas and technology. The public interest in allowing Alto Dynamics to enforce its right to exclude

 outweighs other public interests, which supports injunctive relief in this case.

                  COUNT IV: INFRINGEMENT OF U.S. PATENT NO. 7,392,160

     56.     Alto Dynamics repeats and re-alleges the allegations in the Paragraphs above as though

 fully set forth in their entirety.

     57.     The USPTO duly issued U.S. Patent No. 7,392,160 (the “’160 patent”) on June 24,

 2008, after full and fair examination of Application No. 11/557,170, which was filed on November

 7, 2006. See Ex. D, at D-1.

     58.     Alto Dynamics owns all substantial rights, interest, and title in and to the ’160 patent,

 including the sole and exclusive right to prosecute this action and enforce the ’160 patent against

 infringers, and to collect damages for all relevant times.

     59.     The claims of the ’160 patent are not directed to an abstract idea and are not limited to

 well-understood, routine, or conventional activity.          Rather, the claimed inventions include

 inventive components that improve upon the function and operation of preexisting systems and

 methods for monitoring, recording and analysis of user activity.

     60.     The written description of the ’160 patent describes in technical detail each limitation

 of the claims, allowing a skilled artisan to understand the scope of the claims and how the non-

 conventional and non-generic combination of claim limitations is patently distinct from and

 improved upon what may have been considered conventional or generic in the art at the priority

 date. The ‘160 patent also identifies and circumscribes all information necessary for a skilled

 artisan to perform each limitation in the claims in light of that which was known in the art at the

 priority date.




                                               Page | 12
Case 2:22-cv-00350-JRG-RSP             Document 1        Filed 09/09/22       Page 13 of 25 PageID #:
                                               13



     61.     Defendant has infringed and continue to infringe one or more claims of the ’160 patent

 by making, using, providing, supplying, selling, offering for sale, or distributing the Accused

 Instrumentalities, including, but not limited to, Defendant’s deployment of cookies through its

 online sales platform.

     62.     Defendant has directly infringed and continue to directly infringe, either literally or

 under the doctrine of equivalents, at least claim 1 of the ’160 patent.

     63.     For example, the Accused Instrumentalities track user activities and preferences (e.g.,

 using cookies), including by performing, and allowing users to perform a method for monitoring

 user usage patterns of a system, comprising the steps providing at least one state object, the object

 including a profile representative of user usage, storing the state object at a client location, passing,

 to a central server, the state object with each subsequent interaction initiation, and receiving, from

 the central server, the state object along with the response of the central server, wherein the profile

 is modified to reflect the interaction between the client location and the central server, and wherein

 the central server audits the state object/profile passed to it, and performs analysis on the audited

 profile in order to direct services and/or information suited to the profile to the client location.

     64.     Since at least the time of receiving this Complaint, Defendant has also indirectly

 infringed and continues to indirectly infringe the ’160 patent by inducing others to directly infringe

 the ’160 patent. Defendant has induced and continue to induce their subsidiaries, partners,

 affiliates, and end-users, including Defendant’s customers and potential customers, to directly

 infringe, either literally or under the doctrine of equivalents, the ’160 patent by using the Accused

 Instrumentalities. Defendant took active steps, directly or through contractual relationships with

 others, with the specific intent to cause them to use the Accused Instrumentalities in a manner that

 infringes one or more claims of the ’160 patent, including, for example, claim 1 of the ’160 patent.




                                                Page | 13
Case 2:22-cv-00350-JRG-RSP                Document 1    Filed 09/09/22      Page 14 of 25 PageID #:
                                                  14



 Such steps by Defendant included, among other things, advising or directing personnel,

 contractors, or end-users to make or use the Accused Instrumentalities in an infringing manner;

 advertising and promoting the use of the Accused Instrumentalities in an infringing manner; or

 distributing instructions that guide users to use the Accused Instrumentalities in an infringing

 manner. Defendant is performing these steps, which constitutes induced infringement with the

 knowledge of the ’160 patent and with the knowledge that the induced acts constitute infringement.

 Defendant is aware that the normal and customary use of the Accused Instrumentalities by others

 would infringe the ’160 patent. Defendant’s inducement is ongoing.

     65.     Since at least the time of receiving this Complaint, Defendant has also indirectly

 infringed and continues to indirectly infringe by contributing to the infringement of the ’160 patent.

 Defendant has contributed and continues to contribute to the direct infringement of the ’160 patent

 by personnel, contractors, customers, and other end users by encouraging them to use the Accused

 Instrumentalities to perform the steps of the patented process as described in one or more claims

 of the ’160 patent. The Accused Instrumentalities have special features that are specially designed

 to be used in an infringing way and that have no substantial uses other than ones that infringe one

 or more claims of the ’160 patent, including, for example, claim 1 of the ’160 patent. The special

 features include, for example, the method recited in claim 1, including all the intermediary steps,

 that allow the claimed method of monitoring user usage patterns of a system. The special features

 constitute a material part of the invention of one or more of the claims of the ’160 patent and are

 not staple articles of commerce suitable for substantial non-infringing use.             Defendant’s

 contributory infringement is ongoing.

     66.     Defendant has had knowledge of the ’160 patent at least as of the date when it was

 notified of the filing of this action.




                                               Page | 14
Case 2:22-cv-00350-JRG-RSP             Document 1       Filed 09/09/22      Page 15 of 25 PageID #:
                                               15



     67.    Furthermore, on information and belief, Defendant has a policy or practice of not

 reviewing the patents of others (including instructing its employees to not review the patents of

 others), and thus has been willfully blind of Plaintiff’s patent rights.

     68.    Defendant’s actions are at least objectively reckless as to the risk of infringing a valid

 patent and this objective risk was either known or should have been known by Defendant.

     69.    Since at least the time of receiving this Complaint, Defendant’s direct and indirect

 infringement of the ’160 patent is, has been, and continues to be willful, intentional, deliberate, or

 in conscious disregard of Plaintiff’s rights under the patent.

     70.    Alto Dynamics or its predecessors-in-interest have satisfied all statutory obligations

 required to collect pre-filing damages for the full period allowed by law for infringement of the

 ’160 patent.

     71.    Plaintiff has been damaged and continues to be damaged as a result of the infringing

 conduct by Defendant alleged above. Thus, Defendant is liable to Alto Dynamics in an amount

 that compensates it for such infringement, which by law cannot be less than a reasonable royalty,

 together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

     72.    Alto Dynamics has suffered and continues to suffer irreparable harm, through its loss

 of market share and goodwill, for which there is no adequate remedy at law. Alto Dynamics has

 and will continue to suffer this harm by virtue of each Defendant’s infringement of the ’160 patent.

 Defendant’s actions have interfered with and will interfere with Alto Dynamics’ ability to license

 technology. The balance of hardships favors Alto Dynamics’ ability to commercialize its own

 ideas and technology. The public interest in allowing Alto Dynamics to enforce its right to exclude

 outweighs other public interests, which supports injunctive relief in this case.




                                               Page | 15
Case 2:22-cv-00350-JRG-RSP            Document 1       Filed 09/09/22       Page 16 of 25 PageID #:
                                              16



                  COUNT V: INFRINGEMENT OF U.S. PATENT NO. 7,657,531

     73.     Alto Dynamics repeats and re-alleges the allegations in the Paragraphs above as though

 fully set forth in their entirety.

     74.     The USPTO duly issued U.S. Patent No. 7,657,531 (the “’531 patent”) on February 2,

 2010, after full and fair examination of Application No. 11/325,463, which was filed on January

 5, 2006. See Ex. E, at E-1. A Certificate of Correction was issued on November 13, 2010. See

 id., at E-20.

     75.     Alto Dynamics owns all substantial rights, interest, and title in and to the ’531 patent,

 including the sole and exclusive right to prosecute this action and enforce the ’531 patent against

 infringers, and to collect damages for all relevant times.

     76.     The claims of the ’531 patent are not directed to an abstract idea and are not limited to

 well-understood, routine, or conventional activity.          Rather, the claimed inventions include

 inventive components that improve upon the function and operation of preexisting systems and

 methods for authenticating users of program objects in distributed computing environments based

 on negotiated security contexts.

     77.     The written description of the ’531 patent describes in technical detail each limitation

 of the claims, allowing a skilled artisan to understand the scope of the claims and how the non-

 conventional and non-generic combination of claim limitations is patently distinct from and

 improved upon what may have been considered conventional or generic in the art at the priority

 date. The ‘531 patent also identifies and circumscribes all information necessary for a skilled

 artisan to perform each limitation in the claims in light of that which was known in the art at the

 priority date.

     78.     Defendant has infringed one or more claims of the ’531 patent by making, using,

 providing, supplying, selling, offering for sale, or distributing the Accused Instrumentalities,


                                               Page | 16
Case 2:22-cv-00350-JRG-RSP            Document 1       Filed 09/09/22       Page 17 of 25 PageID #:
                                              17



 including, but not limited to, Defendant’s employ of secure communication sessions between user

 computing device and a logon component on its online sales platform.

     79.    Defendant has directly infringed, either literally or under the doctrine of equivalents, at

 least claim 1 of the ’531 patent.

     80.    For example, the Accused Instrumentalities provide website and user authentication

 (e.g., using user login processes and secured sessions), including by performing, and allowing

 users to perform a method of enabling access to a resource of a distributed application server or

 processing system by a user/client application possessing a valid security-context, comprising the

 steps of, receiving the security-context and an appended protected security-context renewal request

 provided by the user to an access authorization component of the application server or processing

 system, verifying the validity of the security-context and the security-context renewal request,

 extracting content of both the security-context and the security-context renewal request, comparing

 current time to an expiration time identifying time of expiration of the security-context, if the

 expiration time is less than the current time, comparing the security-context renewal request with

 stored identity and authorization information comprising at least one of a user identifier, an

 organization identifier, a sub-organization identifier, a key, an authentication certificate, an user

 location, a user role, and an user position identifying the user to the access authorization

 component and generating a new symmetric key, and other access and authorization information,

 generating an updated security-context based on the verifying of the user's identity and

 authorization and based on the user having requested authority for access to the resource and

 services; providing the updated security context to the user, and sending the updated security-

 context and a request for access to the resource and services by the user to the application server

 or processing system.




                                              Page | 17
Case 2:22-cv-00350-JRG-RSP             Document 1         Filed 09/09/22     Page 18 of 25 PageID #:
                                               18



     81.     On information and belief, Defendant has a policy or practice of not reviewing the

 patents of others (including instructing its employees to not review the patents of others), and thus

 has been willfully blind of Plaintiff’s patent rights.

     82.     Defendant’s actions were at least objectively reckless as to the risk of infringing a valid

 patent and this objective risk was either known or should have been known by Defendant.

     83.     Alto Dynamics or its predecessors-in-interest have satisfied all statutory obligations

 required to collect pre-filing damages for the full period allowed by law for infringement of the

 ’531 patent.

     84.     Plaintiff has been damaged and continues to be damaged as a result of the infringing

 conduct by Defendant alleged above. Thus, Defendant is liable to Alto Dynamics in an amount

 that compensates it for such infringement, which by law cannot be less than a reasonable royalty,

 together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                COUNT VI: INFRINGEMENT OF U.S. PATENT NO. 8,051,098

     85.     Alto Dynamics repeats and re-alleges the allegations in the Paragraphs above as though

 fully set forth in their entirety.

     86.     The USPTO duly issued U.S. Patent No. 8,051,098 (the “’098 patent”) on November

 1, 2011, after full and fair examination of Application No. 12/691,547, which was filed on January

 21, 2010. See Ex. F, at F-1. A Certificate of Correction was issued on June 12, 2012. See id., at

 F-20.

     87.     Alto Dynamics owns all substantial rights, interest, and title in and to the ’098 patent,

 including the sole and exclusive right to prosecute this action and enforce the ’098 patent against

 infringers, and to collect damages for all relevant times.

     88.     The claims of the ’098 patent are not directed to an abstract idea and are not limited to

 well-understood, routine, or conventional activity.          Rather, the claimed inventions include


                                                Page | 18
Case 2:22-cv-00350-JRG-RSP            Document 1        Filed 09/09/22       Page 19 of 25 PageID #:
                                              19



 inventive components that improve upon the function and operation of preexisting systems and

 methods for authenticating users of program objects in distributed computing environments based

 on negotiated security contexts.

     89.     The written description of the ’098 patent describes in technical detail each limitation

 of the claims, allowing a skilled artisan to understand the scope of the claims and how the non-

 conventional and non-generic combination of claim limitations is patently distinct from and

 improved upon what may have been considered conventional or generic in the art at the priority

 date. The ‘098 patent also identifies and circumscribes all information necessary for a skilled

 artisan to perform each limitation in the claims in light of that which was known in the art at the

 priority date.

     90.     Defendant has infringed one or more claims of the ’098 patent by making, using,

 providing, supplying, selling, offering for sale, or distributing the Accused Instrumentalities,

 including, but not limited to, Defendant’s employ of secure communication sessions between user

 computing device and a logon component on its online sales platform.

     91.     Defendant has directly infringed, either literally or under the doctrine of equivalents, at

 least claim 1 of the ’098 patent.

     92.     For example, the Accused Instrumentalities provide website and user authentication

 (e.g., using user login processes and secured sessions), including by performing, and allowing

 users to perform a method for accessing any of a plurality of resources wherein at least some of

 the resources do not share a common processing platform, comprising the steps of establishing a

 secure communication session between a user computing device and a logon component, wherein

 the secure communication session comprises a temporary, interactive information exchange that

 is set up and then torn down; verifying logon information provided by the user computing device




                                               Page | 19
Case 2:22-cv-00350-JRG-RSP             Document 1         Filed 09/09/22     Page 20 of 25 PageID #:
                                               20



 to the logon component using the secure communication session and responsively generating a

 security context to be employed by the user computing device that is unique to a user of the user

 computing device and necessary to access any of the plurality of resources without requiring any

 follow-on authorization communications between the accessed resource and the logon component.

     93.     On information and belief, Defendant has a policy or practice of not reviewing the

 patents of others (including instructing its employees to not review the patents of others), and thus

 has been willfully blind of Plaintiff’s patent rights.

     94.     Defendant’s actions were at least objectively reckless as to the risk of infringing a valid

 patent and this objective risk was either known or should have been known by Defendant.

     95.     Alto Dynamics or its predecessors-in-interest have satisfied all statutory obligations

 required to collect pre-filing damages for the full period allowed by law for infringement of the

 ’098 patent.

     96.     Plaintiff has been damaged and continues to be damaged as a result of the infringing

 conduct by Defendant alleged above. Thus, Defendant is liable to Alto Dynamics in an amount

 that compensates it for such infringement, which by law cannot be less than a reasonable royalty,

 together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                COUNT VII: INFRINGEMENT OF U.S. PATENT NO. RE46,513

     97.     Alto Dynamics repeats and re-alleges the allegations in the Paragraphs above as though

 fully set forth in their entirety.

     98.     The USPTO duly issued U.S. Patent No. RE46,513 (the “’513 patent”) on August 15,

 2017, after full and fair examination of Application No. 13/369,112, which was filed on February

 8, 2012. See Ex. G, at G-1. The ’513 patent is a reissue of U.S. Patent No. 7,020,645, which was

 issued on March 28, 2006 after a full and fair examination of Application No. 09/839,551, which

 was filed on April 19, 2001. See id.


                                                Page | 20
Case 2:22-cv-00350-JRG-RSP            Document 1        Filed 09/09/22      Page 21 of 25 PageID #:
                                              21



     99.     Alto Dynamics owns all substantial rights, interest, and title in and to the ’513 patent,

 including the sole and exclusive right to prosecute this action and enforce the ’513 patent against

 infringers, and to collect damages for all relevant times.

    100.     The claims of the ’513 patent are not directed to an abstract idea and are not limited to

 well-understood, routine, or conventional activity.          Rather, the claimed inventions include

 inventive components that improve upon the function and operation of preexisting systems and

 methods for authenticating users of program objects in distributed computing environments based

 on negotiated security contexts.

    101.     The written description of the ’513 patent describes in technical detail each limitation

 of the claims, allowing a skilled artisan to understand the scope of the claims and how the non-

 conventional and non-generic combination of claim limitations is patently distinct from and

 improved upon what may have been considered conventional or generic in the art at the priority

 date. The ‘513 patent also identifies and circumscribes all information necessary for a skilled

 artisan to perform each limitation in the claims in light of that which was known in the art at the

 priority date.

    102.     Defendant has infringed and continue to infringe one or more claims of the ’513 patent

 by making, using, providing, supplying, selling, offering for sale, or distributing the Accused

 Instrumentalities, including, but not limited to, Defendant’s employ of secure communication

 sessions between user computing device and a logon component on its online sales platform.

    103.     Defendant has directly infringed and continues to indirectly infringe, either literally or

 under the doctrine of equivalents, at least claim 1 of the ’513 patent.

    104.     For example, the Accused Instrumentalities provide website and user authentication

 (e.g., using user login processes and secured sessions), including by performing, and allowing




                                               Page | 21
Case 2:22-cv-00350-JRG-RSP                Document 1    Filed 09/09/22      Page 22 of 25 PageID #:
                                                  22



 users to perform, a method of enabling access to resources of a processing system, including the

 steps of establishing a secure communication session between a user desiring access and a logon

 component of the processing system, verifying that logon information, provided by the user to the

 logon component during the secure communication session, matches stored information

 identifying the user to the processing system, generating a security context from the logon

 information and authorization information that is necessary for access to the resource, wherein the

 security context comprises a plaintext header and an encrypted body, and the plaintext header

 comprises a security context ID, a key handle, and an algorithm identifier and key size, providing

 the security context to the user, and sending, by the user to the processing system, the security

 context and a request for access to the resource.

    105.     Defendant has had knowledge of the ’513 patent at least as of the date when it was

 notified of the filing of this action.

    106.     Furthermore, on information and belief, Defendant has a policy or practice of not

 reviewing the patents of others (including instructing their employees to not review the patents of

 others), and thus has been willfully blind of Plaintiff’s patent rights.

    107.     Defendant’s actions are at least objectively reckless as to the risk of infringing a valid

 patent and this objective risk was either known or should have been known by Defendant.

    108.     Since at least the time of receiving this Complaint, Defendant’s direct and indirect

 infringement of the ’513 patent is, has been, and continues to be willful, intentional, deliberate, or

 in conscious disregard of Plaintiff’s rights under the patent.

    109.     Alto Dynamics or its predecessors-in-interest have satisfied all statutory obligations

 required to collect pre-filing damages for the full period allowed by law for infringement of the

 ’513 patent.




                                               Page | 22
Case 2:22-cv-00350-JRG-RSP                Document 1        Filed 09/09/22       Page 23 of 25 PageID #:
                                                  23



    110.        Plaintiff has been damaged and continues to be damaged as a result of the infringing

 conduct by Defendant alleged above. Thus, Defendant is liable to Alto Dynamics in an amount

 that compensates it for such infringement, which by law cannot be less than a reasonable royalty,

 together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

    111.        Alto Dynamics has suffered and continues to suffer irreparable harm, through its loss

 of market share and goodwill, for which there is no adequate remedy at law. Alto Dynamics has

 and will continue to suffer this harm by virtue of each Defendant’s infringement of the ’513 patent.

 Defendant’s actions have interfered with and will interfere with Alto Dynamics’ ability to license

 technology. The balance of hardships favors Alto Dynamics’ ability to commercialize its own

 ideas and technology. The public interest in allowing Alto Dynamics to enforce its right to exclude

 outweighs other public interests, which supports injunctive relief in this case.

                                              JURY DEMAND

    112.        Plaintiff hereby requests a trial by jury on all issues so triable by right.

                                          PRAYER FOR RELIEF

    113.        WHEREFORE, Alto Dynamics requests that the Court find in its favor and against

 Defendant, and that the Court grant Alto Dynamics the following relief:

           a.   Judgment that one or more claims of the Asserted Patents has been infringed, either

                literally or under the doctrine of equivalents, by Defendant or all others acting in

                concert therewith;

           b.   A permanent injunction enjoining Defendant and its officers, directors, agents,

                servants, affiliates, employees, divisions, branches, subsidiaries, parents, and all others

                acting in concert therewith from infringement of the ’160 patent and the ’018 patent;




                                                   Page | 23
Case 2:22-cv-00350-JRG-RSP          Document 1       Filed 09/09/22      Page 24 of 25 PageID #:
                                            24



            or, in the alternative, an award of a reasonable ongoing royalty for future infringement

            of the ’018 patent and the ’160 patent by such entities;

       c.   Judgment that Defendant accounts for and pays to Alto Dynamics all damages to and

            costs incurred by Alto Dynamics because of Defendant’s infringing activities and

            other conduct complained of herein;

       d.   Judgment that Defendant’s infringement of the ’018 patent and the ’160 patent be

            found willful, and that the Court award treble damages for the period of such willful

            infringement pursuant to 35 U.S.C. § 284;

       e.   Pre-judgment and post-judgment interest on the damages caused by Defendant’s

            infringing activities and other conduct complained of herein;

       f.   That this Court declare this an exceptional case and award Alto Dynamics its

            reasonable attorneys’ fees and costs in accordance with 35 U.S.C. § 285; and

       g.   All other and further relief as the Court may deem just and proper under the

            circumstances.




                                             Page | 24
Case 2:22-cv-00350-JRG-RSP          Document 1        Filed 09/09/22    Page 25 of 25 PageID #:
                                            25



        Dated: September 9, 2022              Respectfully submitted,

                                              By: /s/ James F. McDonough, III
                                              Jonathan L. Hardt (TX 24039906) *
                                              ROZIER HARDT MCDONOUGH PLLC
                                              712 W. 14th Street, Suite C
                                              Austin, Texas 78701
                                              Telephone: (210) 289-7541
                                              Email: hardt@rhmtrial.com

                                              C. Matthew Rozier (CO 46854) *
                                              ROZIER HARDT MCDONOUGH PLLC
                                              2590 Walnut Street, Suite 10
                                              Denver, Colorado 80205
                                              Telephone: (720) 820-3006
                                              Email: matt@rhmtrial.com

                                              James F. McDonough, III (GA 117088) *
                                              Jonathan R. Miller (GA507179) *
                                              Travis E. Lynch (GA 162373) *
                                              ROZIER HARDT MCDONOUGH PLLC
                                              3621 Vinings Slope, Suite 4300
                                              Atlanta, Georgia 30339
                                              Telephone (470) 480-9505, -9517, -9514
                                              Email: jim@rhmtrial.com
                                              Email: miller@ rhmtrial.com
                                              Email: lynch@ rhmtrial.com

                        Attorneys for Plaintiff ALTO DYNAMICS LLC

 *Admitted to the Eastern District of Texas

 List Of Exhibits
    A. US Patent No. 6,604,100
    B. US Patent No. 6,662,190
    C. US Patent No. 7,152,018
    D. US Patent No. 7,392,160
    E. US Patent No. 7,657,531
    F. US Patent No. 8,051,098
    G. US Patent No. RE46,513
    H. Webpage: us.shein.com
    I. Webpage: us.shein.com/About-Us-a-117.html
    J. Webpage: us.shein.com/imprint-a-7 46.html?ref=www&rep=dir&ret=us
    K. Shein App Available from App Store
    L. Shein App Available from Google Play




                                              Page | 25
